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AO 245B (CASDRev. 08113) Judgment in a Criminal Case

                                                                                                     i
                                      UNITED STATES DISTRICT COURT
                                           SOUTHERN DISTRlCT OF CALIFORNIA                           .
              UNITED STATES OF AMERICA                             JUDGMENT IN A                CJ~INAL CASE
                                 v.                                (For Offenses Committed On or AftefNovember 1, 1987)
                      PAUL JIMENEZ (2)
                                                                       Case Number:         lSCR2463-BAS

                                                                    KNUT S. JOHNSON
                                                                    Defendant's Attorney
REGISTRATION NO.                 51172298


IZI pleaded guilty to count(s)          ONE (l) OF THE SUPERSEDING INFORMATION

       was found guilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                     Count
Title & Section                       Nature of Offense                                                             Number(s)
21 USC 846, 84 I (a)(1)               CONSPIRACY TO DISTRIBUTE HEROIN                                                     I




    The defendant is sentenced as provided in pages 2 through                  4           of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

o The defendant has been found not guilty on count(s)
 ~     Count(s)   UNDERLYfNG                                  is           dismissed on the motion ofthe United States.

       Assessment: $100.00
 IZI


 IZI   No fine                        Forfeiture pursuant to order filed                                       , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant's economic circumstances.




                                                                    Date~
                                                                    HON.       YNTHIA BASHANT
                                                                    UNITED STATES DISTRICT JUDGE



                                                                                                                   15CR2463-BAS
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DEFENDANT:                PAUL JIMENEZ (2)                                                         Judgment - Page 2 of 4
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                                                 IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 FIFTY ONE (51) MONTHS.




 o     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 ~     The court makes the following recommendations to the Bureau of Prisons:
       THE COURT RECOMMENDS THE DEFENDANT BE PLACED IN THE BOP RESIDENTIAL DRUG
       AND ALCOHOL PROGRAM (ROAP) AND DESIGNATED TO TERMINAL ISLAND FOR
       MEDICAL CARE AND TO BE CLOSE TO FAMILY. THE COURT ALSO RECOMMENDS
       MAXIMUM PLACEMENT IN AN RRC TO FACILITATE HIS REINTEGRATION.

 o     The defendant is remanded to the custody of the United States Marshal.

 o     The defendant shall surrender to the United States Marshal for this district:
            at
                 ----------------- A.M.                       on
                                                                   ------------------------------------
       o    as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 o     Prisons:
       o    on or before
       o    as notified by the United States Marshal.
            as notified by the Probation or Pretrial Services Office.

                                                       RETURN

 I have executed this jUdgment as follows:


                                -------------------------- to ------------------------------
       Defendant delivered on


 at
       --------------------- , with a certified copy of this judgment.

                                                                   UNITED STATES MARSHAL



                                     By                    DEPUTY UNITED STATES MARSHAL


                                                                                                       lSCR2463-BAS
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    DEFENDANT:                   PAUL JIMENEZ (2)                                                                              Judgment - Page 3 of 4
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                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THREE (3) YEARS.


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
          The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
o         substance abuse. (Check, if applicable.)
          The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
          The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
          Backlog Elimination Act of 2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
          The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U .S.c. § 16901, et
o         seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
          resides, works, is a student, or was convicted of a qualifying offense. (Check if applicable.)
o         The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

          If this judgment imposes a fine or a restitution obligation. it shall be a condition of supervised release that the defendant pay any
     such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of
     Payments set forth in this judgment.
          The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
      with any special conditions imposed.
                                        STANDARD CONDITIONS OF SUPERVISION
     I)  the defendant shall not leave the judicial district without the pennission ofthe court or probation officer:
     2)  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
     3)  the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4)  the defendant shall support his or her dependents and meet other family responsibilities;
     5)  the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
         reasons;
     6) the defendant shall notifY the probation officer at least ten days prior to any change in residence or employment;
     7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
         any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8) the defendant shall not frequent places where controlled substances are illegally sold. used, distributed, or administered:
     9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted ofa felony,
         unless granted permission to do so by the probation officer;
     10) the dcfcndant shall penn it a probation officer to visit him or her at any time at home or elsewhere and shall pennit confiscation of any contraband
         observed in plain view of the probation officer:
     II) the defendant shaIJ notifY the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer:
     12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the pennission of
         the court; and
     13) as directed by the probation officer, thc defendant shall notifY third parties of risks that may bc occasioned by the defendant" s criminal record or
         personal history or characteristics and shall penn it the probation officer to make such notifications and to contlnn the defendant's compliance
         with such notification requirement.



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DEFENDANT:              PAUL JIMENEZ (2)                                                      Judgment - Page 4 of 4
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                                 SPECIAL CONDITIONS OF SUPERVISION

     I. Participate in a program of drug or alcohol abuse treatment, including drug testing and counseling, as
        directed by the probation officer. Allow for reciprocal release of information between the probation
        officer and the treatment provider. You may be required to contribute to the costs of services rendered,
        in an amount to be determined by the probation officer, based on ability to pay.

     2. Report all vehicles owned or operated, or in which you have an interest, to the probation officer.

     3. Submit your person, property, residence, office or vehicle to a search, conducted by a United States
        Probation Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion of
        contraband or evidence of a violation of a condition of release; failure to submit to a search may be
        grounds for revocation; the defendant shall warn any other residents that the premises may be subject to
        searches pursuant to this condition.

     4. Abstain from all use of alcohol.


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